                 IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MISSOURI
                           WESTERN DIVISION

United States of America,                       )
                                  Plaintiffs,   )
vs.                                             ) No. 04-0244-34-W-FJG
Cledis R. Roberts, Jr.                          )
                                  Defendant.    )

                                        ORDER
      Pending before this Court is defendant’s motion for new trial (Doc. #618), filed
August 29, 2005, and the government’s response (Doc. #624), filed September 6, 2005.
Defendant entered a guilty plea on August 22, 2005, and upon his oral motion waived
the presentence investigation report. Defendant was sentenced that date and the
judgment and commitment order was entered on August 24, 2005 (Doc. #614).
      Pursuant to Rule 11(c) of the Federal Rules of Criminal Procedure a defendant
may not withdraw a plea of guilty or nolo contendere after sentence has been imposed.
Accordingly, defendant’s motion for new trial (Doc. #618) is denied.
      Also pending is defendant’s motion for continuance or in the alternative, motion
for leave to withdraw as counsel of record (Doc. #619), filed August 29, 2005. As
defendant has previously been sentenced by this Court, his motion for continuance of
the trial of his co-defendants is denied. The request of Phillip R. Gibson to withdraw as
counsel of record for defendant is denied.




                                                /s/Fernando J. Gaitan, Jr.
                                                United States District Judge
Dated: September 16, 2005
Kansas City, Missouri




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